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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                   :
                                                   Case No. 3:16CR00135(3)
       Plaintiff,                           :

 vs.                                        :      District Judge Walter Herbert Rice
                                                   Magistrate Judge Sharon L. Ovington
TAYLOR KARAS,                               :

       Defendant.                           :



                        REPORT AND RECOMMENDATIONS


       This case came on for hearing on January 20, 2017. The United States was

represented by Assistant United States Attorney Dominic Gerace and Defendant was

represented by Aaron Durden.

       The parties have entered into a plea agreement which has been filed of record. The

undersigned carefully inquired of Defendant regarding her understanding of the

agreement as well as her competence to understand the agreement. Having fully inquired,

the undersigned Judicial Officer finds that Defendant’s tendered plea of guilty to Count 1

of the Indictment is knowing, intelligent and voluntary. Based on the statement of facts as

set forth in the plea colloquy the undersigned finds that there is a sufficient factual basis

for a finding of guilt as to the count.

       It is accordingly recommended that the Court accept the plea of guilty to Count 1
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of the Indictment and find Defendant guilty as charged of Aiding and Abetting

Kidnapping in violation of Title 21 U.S.C. §1201(a)(1).

      Pending the Court’s acceptance of Defendant’s plea, Defendant has been referred

to the Probation Department for a pre-sentence investigation.



January 23, 2017

                                                    s/ Sharon L. Ovington
                                                       Sharon L. Ovington
                                                   United States Magistrate Judge
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                       NOTICE REGARDING OBJECTIONS

       Pursuant to Fed. R. Crim. P. 59(b), any party may serve and file specific, written
objections to the proposed findings and recommendations within FOURTEEN days after
being served with this Report and Recommendations. Pursuant to Fed. R. Crim. P. 49(c)
and Fed. R. Civ. P. 6(d), this period is extended to SEVENTEEN days because this
Report is being served by one of the methods of service listed in Fed. R. Civ. P.
5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report
objected to and shall be accompanied by a memorandum of law in support of the
objections. If the Report and Recommendation is based in whole or in part upon matters
occurring of record at an oral hearing, the objecting party shall promptly arrange for the
transcription of the record, or such portions of it as all parties may agree upon or the
Magistrate Judge deems sufficient, unless the assigned District Judge otherwise directs. A
party may respond to another party’s objections within FOURTEEN days after being
served with a copy thereof.

       Failure to make objections in accordance with this procedure may forfeit rights on
appeal. See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947,
949-50 (6th Cir. 1981).
